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                                                 Draft Jury Instructions
                                               July 26, 2017 Court Ex. 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------x
                                   :
UNITED STATES OF AMERICA,          :
                                   :
          -against-                :
                                   :           15-CR-637 (KAM)
Martin Shkreli,                    :
                                   :
                Defendant.         :
                                   :
-----------------------------------x




                            JURY INSTRUCTIONS
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                               INTRODUCTION

            You are about to enter your final duty, which is to

decide the factual issues in the case.         I ask that you please

pay close attention to me now.        I will go as slowly as I can and

be as clear as possible.

            I told you at the very start of the trial that your

principal function during the trial would be to listen carefully

and observe each witness who testified.          It has been obvious to

me and to counsel that you have faithfully discharged this duty,

and I thank you for your attentiveness and service.            Now that

you have heard all of the evidence in this case and the

arguments of each side, it is my duty to give you instructions

as to the applicable law.       My instructions will be in three

parts:

            First:    I will state some general rules about your

role and the way in which you are to review the evidence in this

case;

            Second:    I will instruct you as to the particular

crimes charged in this case and the elements that the government

must prove with respect to each; and

            Third:    I will give you some general rules regarding

your deliberations.

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            Do not single out any one instruction I give you as

alone stating the law.       Rather, you should consider these

instructions as a whole when you retire to the jury room to

deliberate on your verdict.

          Authority: See Sand, et al. Modern Federal Jury
Instructions (“Sand”), Instruction 2-1 (Juror Attentiveness).

                        I.    GENERAL RULES OF LAW

1.     Role of the Court

            You have now heard all of the evidence in the case as

well as the final arguments of the lawyers for the government

and for the defendant, Martin Shkreli.

            My duty at this point is to instruct you as to the

law.    It is your duty to accept these instructions of law and

apply them to the facts as you determine them, just as it has

been my duty to preside over the trial and decide what testimony

and evidence is relevant under the law for your consideration.

            On these legal matters, you must take the law as I

give it to you.     Even if any attorney or witness has stated a

legal principle different from any that I state to you in my

instructions, it is my instructions that you must follow.

            You should not, any of you, be concerned about the

wisdom of any rule that I state.          Regardless of any opinion that


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you may have as to what the law may be — or ought to be — it

would violate your sworn duty to base a verdict upon any other

view of the law than that which I give you.

            Authority:    See Sand, 2-2 (Role of the Court).

2.    Role of the Jury

            As members of the jury, you are the sole and exclusive

judges of the facts.      Your role is to pass upon the weight of

the evidence; determine the credibility of the witnesses;

resolve such conflicts as there may be in the testimony; and

draw whatever reasonable inferences you decide to draw from the

facts as you have determined them.

            In determining the facts, you must rely upon your own

recollection of the evidence. What the lawyers have said in

their opening statements, in their closing arguments, in their

objections, or in their questions is not evidence. In this

connection, you should bear in mind that a question put to a

witness is never evidence. It is only the answer that is

evidence. Nor is anything I may have said during the trial or

may say during these instructions with respect to a fact matter

to be taken in substitution for your own independent

recollection. What I say is not evidence.




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            The evidence before you consists of the answers given

by witnesses--the testimony they gave, as you recall it–and the

exhibits and stipulations that were received in evidence.

            The evidence does not include questions. Only the

answers are evidence. But you may not consider any answer that I

directed you to disregard or that I directed struck from the

record. Do not consider such answers.

            Throughout this trial, I have reminded you not to

conduct any outside research into this case.          I have also

instructed you to consciously avoid any media about this case or

about the defendantMr. Shkreli.           Likewise, during deliberations,

you may only consider the evidence admitted at trial and may not

utilize any other information obtained outside the courtroom,

including, but not limited to, research on the internet,

opinions or statements outside the courtroom, or other sources.

You must completely disregard any report that you have read in

the press, seen on television, or heard on the radio. Indeed, it

would be unfair to consider such reports, since they are not

evidence and the parties have no opportunity of contradicting

their accuracy or otherwise explaining them away. In short, it

would be a violation of your oath as jurors to allow yourselves

to be influenced in any manner by such           media.

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            Since you are the sole and exclusive judges of the

facts, I do not mean to indicate any opinion as to the facts or

what your verdict should be. The rulings I have made during the

trial are not any indication of my views of what your decision

should be as to whether or not the guilt of the defendant has

been proven beyond a reasonable doubt.

            I also ask you to draw no inference from the fact that

upon occasion I asked questions of certain witnesses. These

questions were only intended for clarification or to expedite

matters and certainly were not intended to suggest any opinions

on my part as to the verdict you should render or whether any of

the witnesses may have been more credible than any other

witness. You are expressly to understand that the court has no

opinion as to the verdict you should render in this case.

            As to the facts, ladies and gentlemen, you are the

exclusive judges. You are to consider the evidence with

impartiality.     Your verdict must be based solely upon the

evidence developed at trial or the lack of evidence.

            In reaching your decision as to whether the government

sustained its burden of proof, it would be improper for you to

consider any personal feelings you may have about the

defendant’s race, religion, national origin, sex or age.             It

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 would be equally improper for you to allow any feelings you

 might have about the nature of the crimes charged to interfere

 with your decision-making process.        All persons are entitled to

 the presumption of innocence and the government has the burden

 of proof, as I will discuss in a moment.

            The fact that the prosecution is brought in the name

 of the United States of America entitles the government to no

 greater consideration than that accorded to any other party to a

 litigation.    By the same token, it is entitled to no less

 consideration.     All parties, whether government or individuals,

 are equal before the law.

            If you have a reasonable doubt as to a defendant’s

 guilt, you should not hesitate for any reason to find a verdict

 of acquittal. But on the other hand, if you should find that the

 government has met its burden of proving a defendant’s guilt

 beyond a reasonable doubt, you should not hesitate because of

 sympathy or any other reason to render a verdict of guilty.

 Proof beyond a reasonable doubt must, therefore, be proof of a

 convincing character that a reasonable person would not hesitate

 to rely upon in making an important decision.

            Under your oath as jurors you are not to be swayed by

 sympathy. You are to be guided solely by the evidence in this

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 case, and the crucial question that you must ask yourselves as

 you sift through the evidence is: Has the government proven the

 guilt of the defendant beyond a reasonable doubt?           It is for you

 alone to decide whether the government has proven that the

 defendantMr. Shkreli is guilty of the crimes charged solely on

 the basis of the evidence and subject to the law as I charge

 you. If you follow your oath, and try the issues without fear or

 prejudice or bias or sympathy, you will arrive at a true and

 just verdict.

           Authority: See Sand, 2-3 (Role of the Jury); 2-4
 (Juror Obligations (see Comment regarding Second Circuit
 charge); 2-11 (Improper Considerations – Matters the Jury May
 Not Consider); see 2-5 (The Government as a Party); see 2-12
 (Sympathy); 2-21 (Contact with Others (instruction against
 outside research)); 2-17 (Publicity – Final Charge).

 3.   Conduct of Counsel

            It is the duty of the attorneys on each side of a case

 to object when the other side offers testimony or other evidence

 which the attorneys believe is not properly admissible.            Counsel

 also have the right and duty to ask the court to make rulings of

 law and to request conferences at the side bar out of the

 hearing of the jury.      All those questions of law must be decided

 by me, the court.     You should not show any prejudice against an

 attorney or his or her client because the attorney objected to


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 the admissibility of evidence, or asked for a conference out of

 the hearing of the jury, or asked the court for a ruling on the

 law.

            During the course of the trial, I may have admonished

 an attorney. You should draw no inference against the attorney

 or the client. It is the duty of the attorneys to offer evidence

 and press objections on behalf of their side.          It is my function

 to cut off counsel from an improper line of argument or

 questioning, and to strike answers when I think it is necessary.

 But you should draw no inference from that.

            In fact, in this case, I would like to express my

 gratitude to each of the attorneys for their conscientious

 efforts on behalf of their clients and for work well done.

           Authority: See Sand, 2-5 (The Government as a Party)
 (portion of instruction concerning importance of case to both
 sides); 2-8 (Conduct of Counsel); 2-9 (Reprimand of Counsel for
 Misconduct).

 4.     Presumption of Innocence and Burden of Proof

            The defendant, Martin Shkreli, is before you today

 because he has been charged in an Indictment – here, a

 Superseding Indictment – with violations of federal law.            The

 Superseding Indictment is merely a statement of charges, and is

 not itself evidence.      The defendantMr. Shkreli has pleaded not


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 guilty to the Superseding Indictment.         The defendantMr. Shkreli

 is therefore presumed to be innocent of the charges against him,

 and that presumption alone, unless overcome, is sufficient to

 acquit him.

            To convict the defendantMr. Shkreli, the burden is on

 the government to prove each and every element of the charged

 offenses beyond a reasonable doubt.        This burden never shifts to

 a defendant, for the simple reason that the law presumes a

 defendant to be innocent.       A defendant is never required to

 prove that he is innocent and never imposes upon a defendant in

 a criminal case the burden or duty of calling any witness or

 producing any evidence.

            Every defendant starts with a clean slate and is

 presumed innocent of each of the charges until such time, if

 ever, that you as a jury are satisfied that the government has

 proven the defendant guilty of a given charge beyond a

 reasonable doubt.     If the government fails to prove every

 element of a charge beyond a reasonable doubt, you must find the

 defendantMr. Shkreli not guilty as to that charge.

           Authority: See Sand, 4-1 (Presumption of Innocence
 and Burden of Proof).




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 5.   Reasonable Doubt

            What is a reasonable doubt?        It is a doubt based upon

 reason. It is doubt that a reasonable person has after carefully

 weighing all of the evidence. It is a doubt that would cause a

 reasonable person to hesitate to act in a matter of importance

 in his or her personal life. Proof beyond a reasonable doubt

 must, therefore, be proof of a convincing character that a

 reasonable person would not hesitate to rely upon in making an

 important decision.

            A reasonable doubt is not a caprice or whim; it is not

 a speculation or suspicion.       It is not an excuse to avoid the

 performance of an unpleasant duty.        The law does not require

 that the government prove guilt beyond all possible doubt; proof

 beyond a reasonable doubt is sufficient to convict.

            If, after fair and impartial consideration of all of

 the evidence or lack of evidence concerning a particular charge

 against the defendantMr. Shkreli, you have a reasonable doubt,

 you must find the defendantMr. Shkreli not guilty of that

 charge.   On the other hand, if after fair and impartial

 consideration of all the evidence, you are satisfied of the

 defendant’s Mr. Shkreli’s guilt beyond a reasonable doubt, you

 should find the defendantMr. Shkreli guilty of that charge.

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           Authority: Sand, 4-2 (Reasonable Doubt); United
 States v. Glover, 511 F.3d 340, 343 (2d Cir. 2008); but see
 Gaines v. Kelly, 202 F.3d 598, 609 (2d Cir. 2000) (“several
 circuits, including this one, generally discourage trial courts
 from attempting to define [reasonable doubt].” (citing United
 States v. Desimone, 119 F.3d 217, 226 (2d Cir. 1997))).

 6.   Forms of Evidence

            I now will instruct you as to what is evidence and how

 you should consider it.

 A.   What Is Evidence:

            The evidence in this case comes in several forms:

            1.    Sworn testimony of witnesses, both on direct and

                  cross-examination;

            2.    Exhibits that have been received by the court in

                  evidence;

            3.    Certain exhibits admitted in evidence in the form

                  of charts, summaries and demonstratives. You

                  should consider these charts and summaries as you

                  would any other evidence; and

            4.    Stipulations of fact to which all the attorneys

                  have agreed.     A stipulation means simply that the

                  government and the defendant accept the truth of

                  a particular proposition or fact.         Here, the

                  attorneys for the United States and the attorneys



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                  for the defendantMr. Shkreli have entered into

                  stipulations concerning certain facts and

                  documents that are relevant to this case. You

                  should accept these stipulations as evidence and

                  regard those facts as true, to be given whatever

                  weight you choose.

            If evidence was received for a limited purpose, you

 must consider that evidence for that limited purpose only.




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 B.   What Is Not Evidence:

            Certain things are not evidence and are to be

 disregarded by you in deciding what the facts are:

            1.    The Superseding Indictment is not evidence and is

                  entitled to no weight in your evaluation of the

                  facts.

            2.    Arguments or statements by the attorneys are not

                  evidence.

            3.    A lawyer’s questions of a witness in and of

                  themselves are not evidence - only the answer

                  constitutes evidence.

            4.    Objections to the questions or to offered

                  exhibits are not evidence.       Attorneys have a duty

                  to object when they believe evidence should not

                  be received.     You should not be influenced by the

                  objection or by the court’s ruling on it.          If the

                  objection was sustained, ignore the question.           If

                  the objection was overruled, treat the answer

                  like any other answer.

            5.    Any testimony stricken by the court is not

                  evidence.




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            6.    Any exhibits identified, but not admitted into

                  evidence by the court, are not evidence, however,

                  testimony regarding such exhibits can be

                  considered.

            7.    Obviously, anything you may have seen or heard

                  outside the courtroom is not evidence.

            8.    Any notes you may have taken during the course of

                  the trial are not evidence.

            Your verdict must be based exclusively upon the

 evidence or the lack of evidence in this case.

 7.   Direct and Circumstantial Evidence:

            I told you that evidence comes in various forms such

 as the sworn testimony of witnesses, exhibits, charts and

 summaries, and stipulations.       There are, in addition, different

 types of evidence - direct and circumstantial.

            1.    Direct evidence:      Direct evidence is evidence

                  that proves a fact directly.        For example, when a

                  witness testifies to what he or she saw, heard or

                  observed, that is called direct evidence.

            2.    Circumstantial evidence:       Circumstantial evidence

                  is evidence that tends to prove a disputed fact

                  by proof of other facts. To give a simple

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                  example, suppose that when you came into the

                  courthouse today the sun was shining and it was a

                  nice day, but the courtroom blinds were drawn and

                  you could not look outside. Then later, as you

                  were sitting here, someone walked in with a

                  dripping wet umbrella and, soon after, somebody

                  else walked in with a dripping wet raincoat.

                  Because you cannot look outside of the courtroom

                  and cannot see whether or not it is raining, you

                  have no direct evidence that it is raining. But,

                  on the combination of the facts about the

                  dripping wet umbrella and raincoat, it would be

                  reasonable for you to infer that it had begun to

                  rain. That is all there is to circumstantial

                  evidence. Using your reason and experience, you

                  infer from established facts the existence or the

                  nonexistence of some other fact.         Whether a given

                  inference should be drawn is entirely a matter

                  for you, the jury, to decide. Please note,

                  however, that it drawing an inference is not a

                  matter of speculation or guess;: it is a matter

                  of logical inference.

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            The law makes no distinction between direct and

 circumstantial evidence.      Circumstantial evidence is of no less

 value than direct evidence, and you may consider either or both,

 and may give them such weight as you conclude is warranted.

           Authority: See Sand, 5-2 (Direct and Circumstantial
 Evidence).

 8.   Inferences

            The attorneys have asked you to infer, on the basis of

 your reason, experience, and common sense, from one or more

 established facts, the existence of some other fact.

            An inference is not a suspicion or a guess. It is a

 reasoned, logical decision to conclude that a disputed fact

 exists on the basis of another fact that you know exists.

            There are times when different inferences may be drawn

 from facts, whether proved by direct or circumstantial evidence.

 The government may ask you to draw one set of inferences, while

 the defense may ask you to draw another. It is for you, and you

 alone, to decide what inferences you will draw.

            The process of drawing inferences from facts in

 evidence is not a matter of guesswork or speculation. An

 inference is a deduction or conclusion that you, the jury, are

 permitted to draw-but not required to draw-from the facts that


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 have been established by either direct or circumstantial

 evidence. In drawing inferences, you should exercise your common

 sense.

            So, while you are considering the evidence presented

 to you, you are permitted, but not required, to draw from the

 facts that you find to be proven such reasonable inferences as

 would be justified in light of your experience.

            Here again, let me remind you that, whether based on

 direct or circumstantial evidence, or on the logical, reasonable

 inferences drawn from such evidence, you must be satisfied of

 the guilt of the defendant beyond a reasonable doubt before you

 may convict.

            Authority:     Sand, 6-1 (Inference Defined).

 9.   Admission of Defendant

            There has been evidence that the defendantMr. Shkreli

 made certain statements to government officialsthe Securities

 and Exchange Commission (also referred to as the SEC) in which

 the government claims he admitted certain facts charged in the

 Superseding Indictment. In deciding what weight to give the

 defendant’s statements, you should first examine with great care

 whether each statement was made and whether, in fact, it was

 voluntarily and understandingly made. I instruct you that you

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 are to give the statements such weight as you feel they deserve

 in light of all the evidence.

            Authority:     Sand, 5-19 (Admission of Defendant).

 10.   Defendant’s Right Not to Testify

            The defendantMr. Shkreli did not testify in this case.

 Under the United States Constitution, a defendant has no

 obligation to testify or to present any evidence, because it is

 the government’s burden to prove the defendant guilty beyond a

 reasonable doubt.     That burden remains with the government

 throughout the entire trial and never shifts to the defendant.

 A defendant is never required to prove that he is innocent,

 because his innocence is presumed.

            Therefore, you must not attach any significance to the

 fact that the defendantMr. Shkreli did not testify in this case.

 You must not draw any adverse inference against him because he

 did not take the witness stand and you may not consider or even

 discuss it in any way in your deliberations in the jury room.

           Authority: Sand, 5-21 (Improper Consideration of the
 Defendant’s Right to Testify).

 11.   Credibility of Witnesses

            You the jury are the sole judges of the credibility –

 or believability – of the witnesses and the weight their



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 testimony deserves.     You should carefully scrutinize all of the

 testimony given, the circumstances under which each witness

 testified, and any other matter in evidence that may help you to

 decide the truth and the importance of each witness’s testimony.

            Your decisions in this respect may depend on how each

 witness impressed you.      Was the witness candid and forthright or

 did the witness seem to be hiding something, being evasive or

 suspect in some way?      How did the witness’s testimony on direct

 examination compare with the witness’s testimony on cross-

 examination?     Was the witness consistent in the testimony given

 or were there contradictions?       Did the witness appear to know

 what she or he was talking about and did the witness strike you

 as someone who was trying to report that knowledge accurately?

 These are examples of the kinds of common sense questions you

 should ask yourselves in deciding whether a witness is, or is

 not, truthful.

            You should also consider whether a witness had an

 opportunity to observe the facts he or she testified about.

 Also, you should consider whether the witness’s recollection of

 the facts stands up in light of the other evidence in the case.

            How much you choose to believe a witness may also be

 influenced by the witness’s bias. Does the witness have a

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 relationship with the Government or the defendantMr. Shkreli

 that may affect how he or she testified? Does the witness have

 some incentive, loyalty, or motive that might cause him or her

 to shade the truth? Does the witness have some bias, prejudice,

 or hostility that may cause the witness to give you something

 other than a completely accurate account of the facts he or she

 testified to?

            Evidence that a witness is biased, prejudiced or

 hostile toward the defendantMr. Shkreli requires you to view

 that witness’ testimony with caution, to weigh it with care, and

 to subject it to close and searching scrutiny.

            You should also take into account any evidence that

 the witness who testified may benefit in some way from the

 outcome of this case. Such an interest in the outcome creates a

 motive to testify falsely and may sway the witness to testify in

 a way that advances his own interests. Therefore, if you find

 that any witness whose testimony you are considering may have an

 interest in the outcome of this trial, then you should bear that

 factor in mind when evaluating the credibility of his or her

 testimony and accept it with great care.

            This is not to suggest that every witness who has an

 interest in the outcome of a case will testify falsely. It is

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 for you to decide to what extent, if at all, the witness’s

 interest has affected or colored his or her testimony.

            You have also heard evidence of discrepancies in the

 testimony of certain witnesses, and counsel have argued that

 such discrepancies are a reason for you to reject the testimony

 of those witnesses.     Evidence of discrepancies may be a basis to

 disbelieve a witness’s testimony. On the other hand,

 discrepancies in a witness’s testimony or between his or her

 testimony and that of others do not necessarily mean that the

 witness’s entire testimony should be discredited.           People

 sometimes forget things and even a truthful witness may be

 nervous and contradict him- or herself. It is also a fact that

 two people witnessing an event may see or hear it differently.

 Whether a discrepancy pertains to a fact of importance or only

 to a trivial detail should be considered in weighing its

 significance.

            A willful falsehood always is a matter of importance

 and should be considered seriously.        If any witness is shown to

 have willfully lied about any material matter, you have the

 right to conclude that the witness also lied about other

 matters. You may either disregard all of that witnesses’

 testimony, or you may accept whatever part of it you think

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 deserves to be believed. It is for you to decide, based on your

 total impression of a witness, how to weigh his or her

 testimony. You should, as always, use common sense and your own

 good judgment.

           Authority: United States v. Rivera, No. 13-cr-149
 (E.D.N.Y. 2015) (instruction on discrepancies in testimony); see
 Sand, 7-1 (Witness Credibility — General Instructions); 7-2
 (Bias and Hostility); 7-3 (Interest in Outcome).

 12.   Number of Witnesses (Modified)

            You do not have to accept the testimony of any witness

 who has not been contradicted or impeached, if you find the

 witness not to be credible. You also have to decide which

 witnesses to believe and which facts are true. To do this you

 must look at all the evidence, drawing upon your own common

 sense and personal experience. The defendant in this caseMr.

 Shkreli has chosen not to call any witnesses.          You should keep

 in mind that the burden of proof is always on the government and

 that the defendant is not required to call any witnesses or

 offer any evidence, because he is presumed to be innocent.

           Authority: See Sand, 4-3 (Number of Witnesses and
 Uncontradicted Testimony) (modified to remove language regarding
 the number of witnesses).




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 13.   Testimony of Government Employees/Law Enforcement Witnesses

            In this case, you have also heard testimony from a

 witness who works for the FBI, a law enforcement agency. The

 testimony of this witnesses should be evaluated in the same

 manner as the testimony of any other witness. The fact that a

 witness may be employed by the government does not mean that you

 may accord his or her testimony any more or less weight than

 that of any other witness. At the same time, it is common for

 defense counsel to try to attack question the credibility of a

 witness employed by the government, including a witness who

 works in law enforcement, on the grounds that his or her

 testimony may be colored by a personal or professional interest

 in the outcome of the case. It is for you to decide, after

 weighing all the evidence, in light of the instructions I have

 given you about factors relevant to determining the credibility

 of any witness, whether you accept the testimony of a government

 employee witness and what weight, if any, it deserves.

            Authority:     Sand 7-16 (Law Enforcement Witness).

 14.   Prior Inconsistent Statements

            You have heard evidence that a witness made a

 statement on an earlier occasion which counsel argues is

 inconsistent with the witness’s trial testimony. Evidence of

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 what is arguably a prior inconsistent statement was placed

 before you for the limited purpose of helping you decide whether

 to believe the trial testimony of the witness who contradicted

 himself or herself. If you find that the witness made an earlier

 statement that conflicts with his trial testimony, you may

 consider that fact in deciding how much of his trial testimony,

 if any, to believe.

            In making this determination, you may consider whether

 the witness purposely made a false statement or whether it was

 an innocent mistake; whether the inconsistency concerns an

 important fact, or whether it had to do with a small detail;

 whether the witness had an explanation for the inconsistency,

 and whether that explanation appealed to your common sense.

            It is exclusively your duty, based upon all the

 evidence and your own good judgment, to determine whether the

 prior statement was inconsistent, and if so how much, if any,

 weight to be given to the inconsistent statement in determining

 whether to believe all, part, or none of the witness’s

 testimony.

            Authority: Sand, 7-19 (Prior Inconsistent Statements).




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 15.   Preparation for Testimony

            During the course of trial, you heard testimony that

 the attorneys for the parties interviewed witnesses when

 preparing for and during trial.        Attorneys have an obligation to

 prepare their case as thoroughly as possible, and in the

 discharge of that responsibility properly interview witnesses in

 preparation for the trial and from time to time as may be

 required during the course of the trial.

           Authority: United States v. Rivera, No. 13-cr-149
 (E.D.N.Y. 2015); Sand, Seventh Circuit Pattern Jury Instruction
 3.02.

 16.   No Duty to Call Witnesses or Produce Evidence or Use
       Particular Investigative Techniques

            Although the government bears the burden of proof, and

 although a reasonable doubt can arise from lack of evidence, you

 are instructed that there is no legal requirement that the

 government use any specific investigative techniques or pursue

 every investigative lead to prove its case. Therefore, although

 you are to carefully consider the evidence adduced by the

 government, you are not to speculate as to why they used the

 techniques they did or why they did not use other techniques.

            In this regard, I also charge you that all persons who

 may have been present at any time or place mentioned in the



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 case, or who may appear to have some knowledge of the issues in

 this case, need not be called as witnesses.          Both the government

 and the defense have the same right to subpoena witnesses to

 testify on their behalf.      There is no duty on either side,

 however, to call a witness whose testimony would be merely

 cumulative of testimony already in evidence, or who would merely

 provide additional testimony to facts already in evidence.             Nor

 does the law require that all things mentioned during the course

 of the trial be produced as exhibits. I remind you, however,

 that because the law presumes the defendant to be innocent, the

 burden of proving the defendant’s guilt beyond a reasonable

 doubt is on the government throughout the trial.           The defendant

 never has the burden of proving his innocence or of producing

 any evidence or calling any witnesses at all.

           Authority: Sand, 4-4 (No Duty to Call Witnesses or
 Produce Evidence or use Particular Investigative Techniques);
 Rivera (instruction that uncalled witnesses are equally
 available); Sand, 6-7 (Witnesses Equally Available); United
 States v. Perez, 523 Fed. App’x 842, 843 (2d Cir. 2013) (summary
 order) (affirming the use of an “uncalled witness” instruction
 in a case where the government “called only a few . . . victims
 in th[e] case”); see also United States v. Caccia, 122 F.3d 136,
 139 (2d Cir. 1997).

 17.   Informal Agreements




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            You have heard the testimony of a witness who has been

 promised by the government that in exchange for testifying

 truthfully, completely, and fully, he will not be prosecuted for

 any crimes that he may have admitted either here in court or in

 interviews with the prosecutors. This promise was not a formal

 order of immunity by the court, but was arranged directly

 between the witness and the government.



            The government is permitted to make these kinds of

 promises and is entitled to call as witnesses people to whom

 these promises are given. You are instructed that you may

 convict a defendant on the basis of such a witness’ testimony

 alone, if you find that his testimony proves the defendant

 guilty beyond a reasonable doubt.



            However, the testimony of a witness who has been

 promised that he will not be prosecuted should be examined by

 you with greater care than the testimony of an ordinary witness.

 You should scrutinize it closely to determine whether or not it

 is colored in such a way as to place guilt upon the defendant in

 order to further the witness’ own interests; for, such a

 witness, confronted with the realization that he can win his own

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 freedom from prosecution by helping to convict another, has a

 motive to falsify his testimony.


            Such testimony should be received by you with

 suspicion and you may give it such weight, if any, as you

 believe it deserves.

 17.18.           Consider Only this Defendant

            You have heard evidence about the involvement of

 certain other people in the crimes charged in the Superseding

 Indictment. You may not draw any inference, favorable or

 unfavorable, towards the government or the defendantMr. Shkreli

 from the fact that certain persons are not on trial before you,

 or that certain persons were not named as defendants in the

 Superseding Indictment or that certain persons were named as co-

 conspirators but not indicted.       It is not your concern that

 these other individuals are not on trial before you, nor should

 you speculate as to whether or not they were indicted. You

 should neither speculate as to the reason these other people are

 not on trial before you nor allow their absence as parties to

 influence in any way your deliberations in this case. Nor should

 you draw any inference from the fact that any other person is

 not present at this trial or may or may not be indicted. Your


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 concern is solely the defendant on trial before you, Mr.

 Shkreli.

            Similarly, you are not being asked whether any other

 person has been proven guilty. Your verdict should be based

 solely upon the evidence or lack of evidence as to this

 defendant, in accordance with my instructions and without regard

 to whether the guilt of other people has or has not been proven.

           Authority: Sand, 2-18 (Jury to Consider Only this
 Defendant); 3-4 (Failure to Name a Defendant).

 18.19.           Approximate Dates

            The Superseding Indictment charges that the offenses

 at issue took place “in or about” and “between” certain dates.

 The proof need not establish with certainty the exact date of

 the alleged offenses.      The law only requires a substantial

 similarity between the date alleged in the Superseding

 Indictment and the date established by the evidence.

                              II.   THE CHARGES

            I will now turn to the second part of my instructions.

 In this part, I will instruct you as to the specific elements of

 the crimes charged that the government must prove beyond a

 reasonable doubt to warrant a finding of guilt in this case.




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 1.   Summary of the Superseding Indictment; Consider Only the
      Charges; Consider Each Count Separately

             I will begin by summarizing for you the various

 charges alleged in the Superseding Indictment, which as I

 mentioned is merely a statement of the charges, and is not

 evidence.    The defendantMr. Shkreli is not charged with

 committing any crime other than the offenses contained in the

 Superseding Indictment.      You have heard evidence of other acts

 allegedly committed by the defendantMr. Shkreli.           When such

 evidence was introduced, I instructed you that Mr. Shkreli was

 not charged with such acts crimes not listed in the Superseding

 Indictment.

             The Superseding Indictment contains a total of eight

 counts.    Each count charges the defendantMr. Shkreli with a

 different crime.     The charges in Counts One through Three are

 related to an entity known as MSMB Capital. In Count One, the

 defendant, Mr. Shkreli, is charged with conspiracy to commit

 securities fraud, in Count Two he is charged with conspiracy to

 commit wire fraud and in Count Three he is charged with a

 substantive count of securities fraud in relation to MSMB

 Capital.




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            The charges in Counts Four through Six are related to

 an entity known as MSMB Healthcare.        In Count Four, the

 defendantMr. Shkreli is charged with conspiracy to commit

 securities fraud, in Count Five, he is charged with conspiracy

 to commit wire fraud, and in Count Six, he is charged with a

 substantive count of securities fraud in relation to MSMB

 Healthcare.

            In Count Seven, the defendantMr. Shkreli is charged

 with conspiracy to commit wire fraud, and in Count Eight, he is

 charged with conspiracy to commit securities fraud in relation

 to an entity known as Retrophin.

            You must consider each count of the Superseding

 Indictment separately, and you must return a separate verdict on

 the defendant for each count in which he is charged.           Whether

 you find the defendantMr. Shkreli guilty or not guilty as to one

 offense should not affect your verdict as to any other offense

 charged.

           See Sand, 3-3 (Consider Only the Charges (modified));
 3-6 (One Defendant – Multiple Counts).




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 2.   Knowingly, Willfully, and Intentionally Defined

            During these instructions, you will hear me use the

 terms “knowingly,” “willfully,” and “intentionally.”           Therefore,

 I will define these terms for you.

 A.   Knowingly

            To act “knowingly” means to act intentionally and

 voluntarily, and not because of ignorance, mistake, accident,

 negligence, or carelessness.       Whether the defendantMr. Shkreli

 acted knowingly may be proven by the defendant’shis conduct and

 by all of the facts and circumstances surrounding the case.

      Authority:     Sand 3A-1 (Knowingly).

 B.   Willfully

            Certain allegations in the Superseding Indictment

 require that the government prove beyond a reasonable doubt that

 the defendantMr. Shkreli acted “willfully.          “Willfully” means to

 act with knowledge that one’s conduct is unlawful and with an

 intent to do something the law forbids; that is to say, with a

 bad purpose either to disobey or to disregard the law.            A

 defendant’s conduct is not “willful” if it was due to

 negligence, inadvertence, or mistake.

            Authority: Sand, 3A-3 (Willfully).




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 C.   Intentionally

            A person acts “intentionally” when he acts

 deliberately and purposefully.       That is, the defendant’s acts

 must have been the product of his conscious objective decision

 rather than the product of a mistake or accident.

            Whether a person acted knowingly, willfully, or

 intentionally is a question of fact for you to determine, like

 any other fact question.      Direct proof of knowledge and

 fraudulent intent is almost never available.          It would be a rare

 case where it could be shown that a person wrote or stated that

 as of a given time in the past he committed an act with

 fraudulent intent.     Such direct proof is not required.         The

 ultimate facts of knowledge and criminal intent, though

 subjective, may be established by circumstantial evidence, based

 upon a person’s outward manifestations, his words, his conduct,

 his acts and all the surrounding circumstances disclosed by the

 evidence and the rational or logical inferences that may be

 drawn therefrom.     In either case, the essential elements of the

 crime charged must be established beyond a reasonable doubt.

           Authorities: See Sand, 57-24 (Second Element –
 Knowledge, Intent and Willfulness for Securities Fraud); 44-5
 (Second Element – Participation in Scheme with Intent for Wire
 Fraud).


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                 COUNTS THREE AND SIX: Securities Fraud

            The defendant MARTIN SHKRELI is formally charged in a

 Superseding Indictment.      I am going to begin with the

 substantive securities fraud charges.         Counts Three and Six of

 the Superseding Indictment charge the defendant MARTINMr.

 SHKRELI Shkreli with securities fraud.

 A.   The Charges

            Count Three of the Superseding Indictment charges the

 defendant MARTIN SHKRELIMr. Shkreli with securities fraud in

 relation to MSMB Capital, as follows:

            In or about and between September 2009 and September
            2014, both dates being approximate and inclusive,
            within the Eastern District of New York and elsewhere,
            the defendant MARTIN SHKRELI, together with others,
            did knowingly and willfully use and employ one or more
            manipulative and deceptive devices and contrivances,
            contrary to Rule 10b-5 of the Rules and Regulations of
            the United States Securities and Exchange Commission,
            Title 17, Code of Federal Regulations, Section
            240.10b-5, by: (a) employing one or more devices,
            schemes and artifices to defraud; (b) making one or
            more untrue statements of material fact and omitting
            to state one or more material facts necessary in order
            to make the statements made, in light of the
            circumstances in which they were made, not misleading;
            and (c) engaging in one or more acts, practices and
            courses of business which would and did operate as a
            fraud and deceit upon one or more investors or
            potential investors in MSMB Capital, in connection
            with the purchase and sale of investments in MSMB
            Capital, directly and indirectly, by use of means and
            instrumentalities of interstate commerce and the
            mails.

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 Count Six of the Superseding Indictment charges the defendant

 MARTIN SHKRELIMr. Shkreli with committing securities fraud in

 relation to MSMB Healthcare as follows:

            In or about and between February 2011 and September
            2014, both dates being approximate and inclusive,
            within the Eastern District of New York and elsewhere,
            the defendant MARTIN SHKRELI, together with others,
            did knowingly and willfully use and employ one or more
            manipulative and deceptive devices and contrivances,
            contrary to Rule 10b-5 of the Rules and Regulations of
            the United States Securities and Exchange Commission,
            Title 17, Code of Federal Regulations, Section
            240.10b-5, by: (a) employing one or more devices,
            schemes and artifices to defraud; (b) making one or
            more untrue statements of material fact and omitting
            to state one or more material facts necessary in order
            to make the statements made, in light of the
            circumstances in which they were made, not misleading;
            and (c) engaging in one or more acts, practices and
            courses of business which would and did operate as a
            fraud and deceit upon one or more investors or
            potential investors in MSMB Healthcare, in connection
            with the purchase and sale of investments in MSMB
            Healthcare, directly and indirectly, by use of means
            and instrumentalities of interstate commerce and the
            mails.

 B.   The Statute and Rule

            The relevant statute is Section 10(b) of the

 Securities Exchange Act of 1934. That law provides in relevant

 part that:

            It shall be unlawful for any person, directly or
            indirectly, by the use of any means or instrumentality
            of interstate commerce or of the mails, or any
            facility of any national securities exchange –

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            (b) To use or employ, in connection with the purchase
            or sale of any security registered on a national
            securities exchange or any security not so registered
            . . . any manipulative or deceptive device or
            contrivance in contravention of such rules and
            regulations as the [Securities and Exchange Commission
            (“SEC”)] may prescribe as necessary or appropriate in
            the public interest or for the protection of
            investors.

            Based on its authority under this statute, the SEC

 enacted Rule 10b-5, which provides:

            It shall be unlawful for any person, directly or
            indirectly, by the use of any means or instrumentality
            of interstate commerce, or of the mails or of any
            facility of any national securities exchange,
            (a) To employ any device, scheme, or artifice to
            defraud,
            (b) To make any untrue statement of a material fact or
            to omit to state a material fact necessary in order to
            make the statements made, in the light of the
            circumstances under which they were made, not
            misleading, or
            (c) To engage in any act, practice, or course of
            business which operates or would operate as a fraud or
            deceit upon any person, in connection with the
            purchase or sale of any security.

 C.   Definition and Elements

            In order to meet its burden of proof as to Counts

 Three and Six, the government must establish beyond a reasonable

 doubt the following elements of the crime of securities fraud:

            1. First Element - Fraudulent Act

            The first element that the government must prove

 beyond a reasonable doubt is that, in connection with the

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 purchase or sale of a security in MSMB Capital for Count Three,

 and MSMB Healthcare for Count Six, the defendant MARTIN

 SHKRELIMr. Shkreli knowing and intentionally did one or more of

 the following:

            (1) employed a device, scheme or artifice to defraud,

 or

            (2) made an untrue statement of a material fact or

 omitted to state a material fact necessary in order to make the

 statements made, in the light of the circumstances under which

 they were made, not misleading, or

            (3) engaged in an act, practice or course of business

 that operated, or would operate, as a fraud or deceit upon a

 purchaser or seller of any security.

            To prove this element, it is not necessary for the

 government to establish all three types of unlawful conduct in

 connection with the sale or purchase of investments in MSMB

 Capital for Count Three, or MSMB Healthcare for Count Six. Any

 one will be sufficient for a conviction, if you so find, but you

 must be unanimous as to which type of unlawful conduct you find

 to have been proven beyond a reasonable doubt.

 Let me now explain some of these terms.



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       Device, Scheme, or Artifice to Defraud:        A device, scheme

        or artifice to defraud is merely a plan for the

        accomplishment of a fraud. Fraud is a general term which

        embraces all efforts and means that individuals devise to

        take advantage of others. The law that the defendant is

        alleged to have violated prohibits all kinds of

        manipulative and deceptive acts. The fraudulent or

        deceitful conduct alleged need not relate to the investment

        value of the securities involved in this case.

       False Statements and Omissions:       A statement,

        representation, claim, or document is false if it is untrue

        when made and was then known to be untrue by the person

        making it or causing it to be made. A representation or

        statement is fraudulent if it was made with the intention

        to deceive. False or fraudulent statements under the

        statute may include Tthe concealment of material facts in a

        manner that makes what is said or represented deliberately

        misleading may also constitute false or fraudulent

        statements under the statute.

                  The deception need not be based upon spoken or

        written words alone. The arrangement of the words, or the

        circumstances in which they are used, may convey the false

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        and deceptive appearance. If there is deception, the manner

        in which it is accomplished does not matter.

       “In Connection With”: You need not find that the defendant

        Mr. Shkreli actually participated in any securities

        transaction if the defendanthe was engaged in fraudulent

        conduct that was “in connection with” a purchase or sale of

        securities. The “in connection with” aspect of this element

        is satisfied if you find that there was some nexus or

        relation between the allegedly fraudulent conduct and the

        sale or purchase of securities. Fraudulent conduct may be

        “in connection with” the purchase or sale of securities if

        you find that the alleged fraudulent conduct “touched upon”

        a securities transaction.

                  It is no defense to an overall scheme to defraud

        that the defendant may not have been involved in the scheme

        from its inception or may have played only a minor role

        with no contact with the investors and purchasers of the

        securities in question.     Nor is it necessary for you to

        find that the defendant was the actual seller or offeror of

        the securities. It is sufficient if the defendant

        participated in the scheme or fraudulent conduct that

        involved the purchase or sale of stocksecurities. By the

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         same token, the government need not prove that the

         defendant personally made the misrepresentation or that he

         omitted the material fact. It is sufficient if the

         government establishes that the defendant caused the

         statement to be made or the fact to be omitted. With regard

         to the alleged misrepresentations and omissions, you must

         determine whether the statement was true or false when it

         was made, and, in the case of alleged omissions, whether

         the omission was misleading.

        Material Fact: If you find that the government has

         established beyond a reasonable doubt that a statement was

         false or omitted in connection with the purchase or sale of

         any securities, you must next determine whether the fact

         misstated or omitted was material under the circumstances.

         “A misrepresentation is material under Section 10(b) of the

         Securities Exchange Act and Rule 10b–5 where there is a

         substantial likelihood that a reasonable investor would

         find the misrepresentation important in making an

         investment decision.”1    Once If you find that there was a

         material misrepresentation or omission of a material fact,


 1 United States v. Litvak, 808 F.3d 160, 175 (2d Cir. 2015) (internal
 quotation marks and citations omitted) (emphasis added).


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      it does not matter whether the intended victims were

      gullible buyers or sophisticated investors, because the

      securities laws protect the gullible and unsophisticated as

      well as the experienced investor.

            Nor does it matter whether the alleged unlawful

 conduct was successful or not, or that the defendant profited or

 received any benefits as a result of the alleged scheme. Success

 is not an element of the crime charged. However, if you find

 that the defendant did profit from the alleged scheme, you may

 consider that in relation to the element of intent, which I will

 discuss in a moment.

            If you find that the government has not proven this

 element beyond a reasonable doubt, you must find the

 defendantMr. Shkreli not guilty. On the other hand, if you do

 find that the government has proven that a fraudulent act was

 committed by the defendantMr. Shkreli, beyond a reasonable

 doubt, then you must consider the second element. You need not

 find that the government has proven each of the alleged

 fraudulent acts, but I remind you that you must reach a

 unanimous decision as to at least one fraudulent act.

           Authorities: Sand, 57-21 (First Element – Fraudulent
 Act); United States v. Litvak, 808 F.3d 160, 175 (2d Cir. 2015)
 (citations omitted) (defining material misrepresentations).

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            2. Second Element - Knowledge, Intent and Willfulness

            The second element that the government must establish

 as to Count Three for MSMB Capital and Count Six for MSMB

 Healthcare is that the defendant MARTIN SHKRELIMr. Shkreli acted

 knowingly, willfully and with intent to defraud.

            As I explained before, a person acts “knowingly” if he

 acts purposely and voluntarily and not because of ignorance,

 mistake, accident, negligence, or carelessness.

            “Willfully” means to act knowingly and purposely, with

 an intent to do something the law forbids, that is to say, with

 bad purpose either to disobey or to disregard the law.

            “Intent to defraud” in the context of the securities

 laws means to act knowingly and with intent to deceive.

            The question of whether a person acted knowingly,

 willfully and with intent to defraud is a question of fact for

 you to determine, like any other fact question.           This question

 involves one’s state of mind.

            Direct proof of knowledge and fraudulent intent is

 almost never available. It would be a rare case where it could

 be shown that a person wrote or stated that, as of a given time




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 in the past, he committed an act with fraudulent intent. Such

 direct proof is not required.

            The ultimate facts of knowledge and criminal intent,

 though subjective, may be established by circumstantial

 evidence, based upon a person’s outward manifestations, his

 words, his conduct, his acts and all the surrounding

 circumstances disclosed by the evidence and the rational or

 logical inferences that may be drawn therefrom.

            I already have instructed you as to what

 circumstantial evidence is and the inferences that may be drawn

 from it. Those instructions also apply here. What is referred to

 as drawing inferences from circumstantial evidence is no

 different from what people normally mean when they say, “use

 your common sense.” Using your common sense means that, in

 deciding whether a defendantMr. Shkreli possessed or lacked an

 intent to defraud, you do not limit yourself to what the

 defendantMr. Shkreli said, but you also look at what he did and

 what others did in relation to the defendantMr. Shkreli and, in

 general, everything that occurred.

            Circumstantial evidence, if believed, is of no less

 value than direct evidence. In either case, the essential



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 elements of the crime charged must be established by the

 government beyond a reasonable doubt.

            Under the anti-fraud statutes, even false

 representations or omissions of material facts do not amount to

 a fraud unless done with fraudulent intent. However misleading

 or deceptive a plan may be, it is not fraudulent if it was

 devised or carried out in good faith. An honest belief in the

 truth of the representations made by a defendant is a complete

 defense, however inaccurate the statements may turn out to be.

            In considering whether or not a defendant acted in

 good faith, you are instructed that a belief by the defendant,

 if such belief existed, that ultimately everything would work

 out so that no investors would lose any money does not require a

 finding by you that the defendant acted in good faith. No amount

 of honest belief on the part of a defendant that the scheme

 ultimately will make a profit for the investors will excuse

 fraudulent actions or false representations by him.

            As a practical matter, then, to prove the charge

 against a defendant, the government must establish beyond a

 reasonable doubt that the defendant knew that his conduct as a

 participant in the scheme was calculated to deceive and,



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 nonetheless, he associated himself with the alleged fraudulent

 scheme.

            If you find that the defendantMr. Shkreli did not act

 knowingly and with the intent to deceive, then you must find the

 defendant not guilty. On the other hand, if you find that the

 government has established beyond a reasonable doubt not only

 the first element, but also this second element, that the

 defendantMr. Shkreli acted knowingly and with the intent to

 deceive, then you must consider the third element. I remind you

 that you must reach a unanimous decision in connection with each

 element.

           Authority: Sand, 57-24 (Knowledge, Intent, and
 Willfulness); United States v. Leonard, 529 F.3d 83, 91-92 (2d
 Cir. 2008) (discussing the appropriateness of a “no ultimate
 harm” charge in a securities fraud and conspiracy to commit
 securities and mail fraud case); United States v. Litvak, 808
 F.3d 160, 178-79 (2d Cir. 2015) (explaining that “intent to
 harm” is not an element of securities fraud); United States v.
 Kaiser, 609 F.3d 556, 568-70 (2d Cir. 2010) (explaining the
 intent to defraud requirement for securities fraud).

            3. Third Element - Instrumentality of Interstate
               Commerce

            The third and final element that the government must

 prove beyond a reasonable doubt as to Count Three for MSMB

 Capital and Count Six for MSMB Healthcare is that the

 defendantMr. Shkreli knowingly used, or caused to be used, the

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 mails or any means or instrumentalities of transportation or

 communication in interstate commerce in furtherance of the

 scheme to defraud. This would include the use of a telephone, a

 bank wire transfer or an email sent over the Internet that

 traveled across state lines.

            It is not necessary that a defendant be directly or

 personally involved in any emailing, wire, or use of an

 instrumentality of interstate commerce. If the defendant was an

 active participant in the scheme and took steps or engaged in

 conduct which he knew or reasonably could foresee would

 naturally and probably result in the use of interstate means of

 communication, then you may find that he caused the mails or an

 instrumentality of interstate commerce to be used.

            When one does an act with the knowledge that the use

 of interstate means of communication will follow in the ordinary

 course of business, or where such use reasonably can be

 foreseen, even though not actually intended, then he causes such

 means to be used.

            It is not necessary that the items sent through

 interstate means of communication contain the fraudulent

 material, or anything criminal or objectionable. The interstate

 means of communication may be entirely innocent.

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            The use of interstate communications need not be

 central to the execution of the scheme, and may even be

 incidental to it. All that is required is that the use of the

 interstate communications bear some relation to the object of

 the scheme or fraudulent conduct. In fact, the actual offer or

 sale need not be accomplished by the use of interstate

 communications, so long as the defendant is still engaged in

 actions that are a part of the fraudulent scheme when interstate

 communications are used.

           Authorities: Sand, 57-25 (Third Element –
 Instrumentality of Interstate Commerce).

 D.   Securities Fraud Venue

            I have explained to you the elements the government

 must prove beyond a reasonable doubt as to the securities fraud

 charged in Counts Three and Six. The government must also prove

 venue. Unlike the elements I just explained to you that the

 government must prove beyond a reasonable doubt, the government

 must prove venue by a preponderance of the evidence. To

 establish a fact by a preponderance of the evidence means to

 prove that the fact is more likely true than not. A

 preponderance of the evidence means the greater weight of the

 evidence, both direct and circumstantial. It refers to the


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 quality and persuasiveness of the evidence, not to the quantity

 of evidence.

            To establish venue for securities fraud as charged in

 Counts Three and Six, the government must prove that it is more

 likely than not that: (1) the defendant intentionally and

 knowingly caused an act or transaction constituting a securities

 fraud to occur, at least in part, in the Eastern District of New

 York, which consists of the Counties of Kings (also known as

 Brooklyn), Queens, Richmond (also known as Staten Island),

 Nassau, and Suffolk, or (2) it was foreseeable that such an act

 or transaction would occur in the Eastern District of New York,

 and it did. The government need not prove that the defendant

 personally was present in the Eastern District of New York. It

 is sufficient to satisfy the venue requirement if the defendant

 intentionally and knowingly caused an act or transaction

 constituting a securities fraud to occur, at least in part,

 within the Eastern District of New York.

            The government also must prove that the act or

 transaction must be a part of the actual crime of securities

 fraud and not merely a step taken in preparation for the

 commission of the crime.



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            Therefore, if you find that it is more likely than not

 that an act or transaction in furtherance of the securities

 fraud took place in the Eastern District of New York, the

 government has satisfied its burden of proof as to venue as to

 Count Three.

            Again, I caution you that the preponderance of the

 evidence standard applies only to venue. The government must

 prove each of the elements of securities fraud in Counts Three

 and Six beyond a reasonable doubt.

                                  * * * * *

            In sum, if you find that the government has failed to

 prove any one of the elements for either Count Three for MSMB

 Capital or Count Six for MSMB Healthcare beyond a reasonable

 doubt, then you must find the defendant Mr. Shkreli not guilty

 of securities fraud for that count. To find the defendantMr.

 Shkreli guilty of securities fraud as charged in Count Three or

 Count Six, you must find that the government has proven, beyond

 a reasonable doubt, each element of the securities fraud charged

 in Count Three for MSMB Capital or Count Six for MSMB

 Healthcare, and also that the government has established venue

 for that count by a preponderance of the evidence.

     COUNTS ONE AND FOUR: Conspiracy to Commit Securities Fraud

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            I will next instruct you on the securities fraud

 conspiracy charges. Count One of the Superseding Indictment

 charges the defendant MARTIN SHKRELIMr. Shkreli with conspiracy

 to commit securities fraud with respect to MSMB Capital, and

 Count Four charges him with conspiring to commit securities

 fraud with respect to MSMB Healthcare.

            Count One of the Superseding Indictment charges the

 defendant MARTIN SHKRELIMr. Shkreli with conspiracy to commit

 securities fraud in connection with MSMB Capital as follows:

            In or about and between September 2009 and September
            2014, both dates being approximate and inclusive,
            within the Eastern District of New York and elsewhere,
            the defendant MARTIN SHKRELI, together with others,
            did knowing and willfully conspire to use and employ
            manipulative and deceptive devices and contrivances,
            contrary to Rule 10b-5 of the Rules and Regulations of
            the United States Securities and Exchange Commission,
            Title 17, Code of Federal Regulations, Section
            240.10b-5, by : (a) employing devices, schemes and
            artifices to defraud; (b) making untrue statements of
            material fact and omitting to state material facts
            necessary in order to make the statements made, in
            light of the circumstances under which they were made,
            not misleading; and (c) engaging in acts, practices
            and courses of business which would and did operate as
            a fraud and deceit upon investors and potential
            investors in MSMB Capital, in connection with the
            purchase and sale of investments in MSMB Capital,
            directly and indirectly, by use of means and
            instrumentalities of interstate commerce and the
            mails, contrary to Title 15, United States Code,
            Sections 78j(b) and 78ff.



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            In furtherance of the conspiracy and to effect its
            objects, within the Eastern District of New York and
            elsewhere, the defendant MARTIN SHKRELI, together with
            others, committed and caused to be committed, among
            others, the following overt acts:

            a. On or about October 24, 2009, Co-Conspirator 1Marek
            Biestek sent an email to Investor 2Steven Richardson,
            copying SHKRELI and enclosing the “MSMB Capital
            Investor Kit,” which included a presentation and a
            private placement memorandum.

            b. On or about February 18, 2010, SHKRELI sent an
            email to the [MSMB] Capital Limited Partners,
            including Investor 2, and stated, in part: “Our fund
            is open to new and additional investments. Our terms
            are 1%/20% fees with monthly liquidity.”

            c. On or about June 9, 2010, SHKRELI sent an email to
            Investor 1Darren Blanton, attaching MSMB Capital
            documents, and stated, in part: “The fund is a 1/20
            fee structure with no lock-ups. . . . we have a daily
            results email some people like to see . . . hedge fund
            performance should be easy enough to report/calculate
            estimates on a daily basis, and it is. . . . I’d love
            to have you as an investor – it looks like we see eye-
            to-eye on a number of topics.”

            d. On or about October 6, 2010, SHKRELI sent an email
            to the Capital Limited Partners, including Investor
            2Steven Richardson, and attached a letter entitled
            “MSMB Capital Management Limited Partnership Letter
            for Q3 2010.” In the letter, SHKRELI stated, in part,
            that the “partnership performed well, returning 9% in
            Q3 2010” and that brought the “gross year-to-date
            return to 44%.”

            e. On or about December 2, 2010, SHKRELI sent an email
            to Investor 1Darren Blanton, and stated, in part, that
            MSMB Capital’s current assets under management were
            $35 million, its auditor was Rothstein Kass, and its
            administrator was NAV Consulting.


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            f. On or about January 3, 2011, SHKRELI sent an email
            to the Capital Limited Partners, including Investor
            2Steven Richardson, and stated that MSMB Capital had
            “returned +30.44% in 2010” and “+30.97% since
            inception on 11/1/2009.”

            g. On or about February 2, 2011, SHKRELI sent an email
            to Coconspirator 1Marek Biestek and an employee and
            attached a spreadsheet detailing MSMB Capital’s OREX
            trading.

            h. On or about February 9, 2011, SHKRELI sent an email
            to the Capital Limited Partners, including Investor
            1Darren Blanton and Investor 2Steven Richardson, and
            stated that MSMB Capital had “returned +3.80% gross of
            fees year-to-date” and “+35.95% since inception on
            11/1/2009.”

            i. On or about November 17, 2011, Investor 1Darren
            Blanton sent a letter to SHKRELI providing written
            notice of a request for a full withdrawal of his
            investment in MSMB Capital based on the fund’s net
            asset value as of November 30, 2011.

            j. On or about January 25, 2012, SHKRELI sent an email
            to Investor 1Darren Blanton, copying others, and
            stated, in part: “You invested $1,250,000 for the
            12/31/2010 period. The value of this investment is now
            approximately $1,318,872, net of fees . . . We
            acknowledge your redemption and this will be your last
            statement.”

            k. On or about September 10, 2012, SHKRELI sent an
            email to the Capital Limited Partners, including
            Investor 2Steven Richardson, and stated, in part: “I
            have decided to wind down our hedge fund partnerships
            with a goal of completing the liquidation of the funds
            by November or December 1st, 2012. . . . Original MSMB
            investors (2009) have just about doubled their money
            net of fees. . . . investors will have their limited
            partnership interests redeemed by the fund for cash.
            Alternatively, investors may ask for a redemption of


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            Retrophin shares, or a combination of Retrophin shares
            and cash.”

            Count Four of the Superseding Indictment charges the

 defendant MARTIN SHKRELIMr. Shkreli with conspiracy to commit

 securities fraud in connection with MSMB Healthcare as follows:

            In or about and between February 2011 and September
            2014, both dates being approximate and inclusive,
            within the Eastern District of New York and elsewhere,
            the defendant MARTIN SHKRELI, together with others,
            did knowingly and willfully conspire to use and employ
            manipulative and deceptive devices and contrivances,
            contrary to Rule 10b-5 of the Rules and Regulations of
            the United States Securities and Exchange Commission,
            Title 17, Code of Federal Regulations, Section
            240.10b-5, by: (a) employing devices, schemes and
            artifices to defraud; (b) making untrue statements of
            material fact and omitting to state material facts
            necessary in order to make the statements made, in
            light of the circumstances under which they were made,
            not misleading; and (c) engaging in acts, practices
            and courses of business which would and did operate as
            a fraud and deceit upon investors and potential
            investors in MSMB Healthcare, in connection with the
            purchase and sale of investments in MSMB Healthcare,
            directly and indirectly, by use of means and
            instrumentalities of interstate commerce and the
            mails, contrary to Title 15, United States Code,
            Sections 78j(b) and 78ff.

            In furtherance of the conspiracy and to effect its
            objects, within the Eastern District of New York and
            elsewhere, the defendant MARTIN SHKRELI, together with
            others, committed and caused to be committed, among
            others, the following overt acts:

            a. On or about December 16, 2011, SHKRELI sent an
            email to Corrupt Employee 1Kevin Mulleady and stated
            that MSMB Healthcare had $45 million in assets under


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            management, and $80 million in assets under management
            if the full value of Retrophin was taken into account.

            b. On or about January 24, 2012, in response to an
            email from Investor 3, who had expressed concerned
            about MSMB Healthcare’s performance, SHKRELI stated:
            “The real loss is - 2% and 2% will be added to
            December – we negotiated hard with accountants to
            represent -2% but time constraints resulted in us
            printing -4%.”

            bc. On or about April 18, 2012, SHKRELI sent an email
            to Corrupt Employee 1Kevin Mulleady, and stated that
            MSMB Healthcare had $55 million in assets under
            management.

            cd. On or about April 19, 2012, in response to an
            inquiry by a potential sophisticated investor about
            how MSMB Healthcare could pay employee salaries with a
            modest asset base of $55 million, SHKRELI stated:
            “Lots of ways – many of us have zero salaries or low
            salaries. We have some expenses the fund pays for and
            yet other deferments that are creative. Will tell more
            when we meet!”

            de. On or about September 10, 2012, SHKRELI sent an
            email to the Healthcare Limited Partners, including
            Investor 3Alan Geller, and stated, in part: “I have
            decided to wind down our hedge fund partnerships with
            a goal of completing the liquidation of the funds by
            November or December 1st, 2012. . . . Original MSMB
            investors (2009) have just about doubled their money
            net of fees. . . . investors will have their limited
            partnership interests redeemed by the fund for cash.
            Alternatively, investors may ask for a redemption of
            Retrophin shares, or a combination of Retrophin shares
            and cash.”

            I have already explained to you the crime of

 securities fraud. To find that the defendant MARTIN SHKRELIMr.

 Shkreli is guilty of Count One, you must find that the defendant

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 Mr. Shkreli conspired to commit securities fraud as to MSMB

 Capital.   To find the defendantMr. Shkreli guilty of Count Four

 you must find that the defendantMr. Shkreli conspired to commit

 securities fraud as to MSMB Healthcare.

            For Counts One and Four, the government need not prove

 that the defendantMr. Shkreli actually committed securities

 fraud, the unlawful acts charged as the objects of the

 conspiracy in Counts One and Four. However, you must find,

 beyond a reasonable doubt, that Mr. Shkreli conspired with one

 or more individuals to commit securities fraud.

 A.   Conspiracy

            I will now instruct you on conspiracy. The relevant

 portion of the conspiracy statute, Title 18, United States Code,

 Section 371, provides, in relevant part that it shall be

 unlawful for “two or more persons [to] conspire either to commit

 any offense against the United States, or to defraud the United

 States, or any agency thereof in any manner or for any purpose,

 and one or more of such persons do any act to effect the object

 of the conspiracy[.]”

            A conspiracy is a kind of criminal partnership, at the

 heart of which is an agreement or understanding by two or more

 persons to violate other laws. A conspiracy to commit a crime is

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 an entirely separate and different offense from the underlying

 crime that the conspirators intended to commit. Thus, if a

 conspiracy exists, it is still punishable as a crime, even if it

 should fail to achieve its purpose. A defendant may be found

 guilty of conspiracy even if he was incapable of committing the

 substantive crime. Consequently, for a defendant to be guilty of

 conspiracy, there is no need for the government to prove that he

 or any other conspirator actually succeeded in their criminal

 goals or even that they could have succeeded.

            To prove the crime of conspiracy to commit securities

 fraud, the government must prove four elements beyond a

 reasonable doubt:

            First, that two or more persons entered into an

 agreement to commit securities fraud, as I have defined the

 crime of securities fraud on page 35;

            Second, that the defendant knowingly and intentionally

 became a member of the conspiracy; and

            Third, that one of the members of the conspiracy

 committed at least one of the overt acts charged in the

 Superseding Indictment; and




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            Fourth, that at least one overt act was in furtherance

 of some object or purpose of the conspiracy as charged in the

 Superseding Indictment.

            1. First Element: Existence of the Agreement

            The first element that the government must prove

 beyond a reasonable doubt for Counts One and Four is that two or

 more persons entered into the charged agreement to commit

 securities fraud. One person cannot commit a conspiracy alone.

 Rather, the proof must convince you that at least two persons

 joined together in a common criminal scheme. The government need

 not prove that members of the conspiracy met together or entered

 into any express or formal agreement. You need not find that the

 alleged conspirators stated, in words or writing, what the

 scheme was, its object or purpose, or the means by which the

 scheme was to be accomplished. It is sufficient to show that the

 conspirators tacitly came to a mutual understanding to

 accomplish an unlawful act by means of a joint plan or common

 design.

            You may, of course, find that the existence of an

 agreement between two or more persons to violate the law has

 been established by direct proof. But since, by its very nature,

 a conspiracy is characterized by secrecy, direct proof may not

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 be available. Therefore, you may infer the existence of a

 conspiracy from the circumstances of this case and the conduct

 of the parties involved. In a very real sense, then, in the

 context of conspiracy cases, actions often speak louder than

 words. In determining whether an agreement existed here, you may

 consider the actions and statements of all those you find to be

 participants in the conspiracy as proof that a common design

 existed to act together for the accomplishment of the unlawful

 purpose stated in the Superseding Indictment.

            2. Second Element: Membership in the Conspiracy

            The second element the government must prove beyond a

 reasonable doubt for Counts One and Four is that the defendant

 knowingly and intentionally became a member in the charged

 conspiracy. I have explained to you what it means to act

 knowingly and intentionally. A person acts knowingly and

 intentionally if he acts voluntarily, deliberately, and

 purposefully, and not because of ignorance, mistake, accident,

 negligence or carelessness. In other words, did the defendant

 participate in the conspiracy with knowledge of its unlawful

 purpose and with the specific intention of furthering its

 business or objective? Knowledge and intent may be inferred from

 a secretive or irregular manner in which activities are carried

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 out. Whether a defendant acted knowingly may be proven by the

 defendant’s conduct and by all of the facts and circumstances

 surrounding the case.

            In order for a defendant to be deemed a member of a

 conspiracy, he need not have had a stake in the venture or its

 outcome. While proof of a financial or other interest in the

 outcome of a scheme is not essential, if you find that a

 defendant did have such an interest, it is a factor you may

 properly consider in determining whether or not the defendant

 was a member of the conspiracy charged in the Superseding

 Indictment.

            A defendant’s participation in the conspiracy must be

 established by independent evidence of his own acts or

 statements, as well as those of the other alleged co-

 conspirators, and the reasonable inferences that may be drawn

 from them.

            A defendant’s knowledge may be inferred from the facts

 proved. In that connection, I instruct you that, to become a

 member of the conspiracy, a defendant need not have been

 apprised of all of the activities of all members of the

 conspiracy. Moreover, a defendant need not have been fully

 informed as to all of the details, or the scope, of the

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 conspiracy in order to justify an inference of knowledge on his

 part. In addition, a defendant need not have joined in all of

 the conspiracy’s unlawful objectives.

            In considering whether a defendant participated in a

 conspiracy, be advised that a conspirator’s liability is not

 measured by the extent or duration of his participation as he

 need not have been a member of the conspiracy for the entire

 time of its existence. In addition, each member of the

 conspiracy may perform separate and distinct acts and may

 perform them at different times. Some conspirators play major

 roles, while others play minor parts in the scheme. An equal

 role is not what the law requires. Even a single act may be

 sufficient to draw a defendant within the ambit of the

 conspiracy. The key inquiry is simply whether a defendant joined

 the conspiracy charged with an awareness of at least some of the

 basic aims and purposes of the unlawful agreement and with the

 intent to help it succeed.

            I caution you that mere knowledge or acquiescence,

 without participation, in the unlawful plan is not sufficient.

 Moreover, the fact that the acts of a defendant, without

 knowledge, merely happen to further the purposes or objectives

 of the conspiracy, does not make the defendant a member. More is

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 required under the law. What is required is that a defendant

 must have participated with knowledge of at least some of the

 purposes or objectives of the conspiracy and with the intention

 of aiding in the accomplishment of those unlawful ends. In sum,

 a defendant, with an understanding of the unlawful character of

 the conspiracy, must have intentionally engaged, advised, or

 assisted in it for the purpose of furthering the illegal

 undertaking.

            3. Third Element: Overt Acts

            The government must prove that one of the members of

 the conspiracy knowingly committed at least one of the overt

 acts charged in the Superseding Indictment, as I read them

 before.

            In order for the government to satisfy this element,

 it is not required that all of the overt acts alleged in the

 Superseding Indictment be proven or that the overt act was

 committed at precisely the time alleged in the Superseding

 Indictment. It is sufficient if you are convinced beyond a

 reasonable doubt that the overt act occurred at or about the

 time and place stated. Similarly, you need not find that the

 defendant himself committed the overt act. It is sufficient for

 the government to show that one of the conspirators knowingly

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 committed an overt act in furtherance of the conspiracy, since,

 in the eyes of the law, such an act becomes the act of all of

 the members of the conspiracy.

            4. Fourth Element: In Furtherance of Some Objective of
               the Conspiracy

            If you find that overt act or acts were committed, the

 government must prove beyond a reasonable doubt that the overt

 act or acts were done specifically to further some objective of

 the conspiracy.

            In order for the government to satisfy this element,

 it must prove, beyond a reasonable doubt, that at least one

 overt act was knowingly and willfully done, by at least one

 conspirator, in furtherance of some object or purpose of the

 conspiracy as charged in the Superseding Indictment. In this

 regard, you should bear in mind that the overt act, standing

 alone, may be an innocent, lawful act. Frequently, however, an

 apparently innocent act sheds its harmless character if it is a

 step in carrying out, promoting, aiding or assisting the

 conspiratorial scheme. Therefore, you are instructed that the

 overt act does not have to be an act which, in and of itself, is

 criminal or constitutes an objective of the conspiracy.




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            In sum, in order to prove that the defendant MARTIN

 SHKRELIMr. Shkreli is guilty of Counts One and Four, the

 government must prove, beyond a reasonable doubt: 1) that Mr.

 Shkreli entered into an agreement with one or more individuals

 the purpose of the conspiracy was to commit securities fraud; 2)

 that the defendantMr. Shkreli knowingly and intentionally joined

 the conspiracy; 3) that at least one of the overt acts alleged

 in the Superseding Indictment was committed by at least one

 member of the conspiracy; and 4) that the overt act was

 committed specifically to further some objective of the

 conspiracy.

            If you find that the government has not proven any one

 of these elements, then you must find the defendantMr. Shkreli

 not guilty of Counts One and Four.

 B.   Venue

            I have explained to you the elements the government

 must prove beyond a reasonable doubt as to Counts One and Four.

 The government also must prove venue.         As I explained to you

 earlier, the government must prove venue only by a preponderance

 of the evidence.     I remind you that to establish a fact by a

 preponderance of the evidence means to prove that the fact is

 more likely true than not.

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            I have already explained venue for the securities

 fraud counts charged in Counts Three and Six.          To establish

 venue for conspiracy to commit securities fraud as charged in

 Counts One, Four and Eight or conspiracy to commit wire fraud as

 charged in Counts Two, Five and Seven, the government must prove

 that it is more likely than not that an overt act in furtherance

 of the conspiracy was committed in the Eastern District of New

 York, which consists of the Counties of Kings (also known as

 Brooklyn), Queens, Richmond (also known as Staten Island),

 Nassau, and Suffolk. The overt act does not have to be an overt

 act that is charged in the Superseding Indictment in furtherance

 of the conspiracy. In this regard, the government need not prove

 that the crime charged was committed in the Eastern District of

 New York or that the defendantMr. Shkreli or any alleged co-

 conspirator was even physically present here.          It is sufficient

 to satisfy the venue requirement if an overt act in furtherance

 of the conspiracy occurred within the Eastern District of New

 York.   This includes not just acts by the defendantMr. Shkreli

 or his co-conspirators, but also acts that the conspirators

 caused others to take that materially furthered the ends of the

 conspiracy.



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            Therefore, if you find that it is more likely than not

 that an overt act in furtherance of the conspiracy took place in

 the Eastern District of New York, the government has satisfied

 its burden of proof as to venue as to Counts One, Two, Four,

 Five, Seven and Eight.      Again, I caution you that the

 preponderance of the evidence standard applies only to venue.

 The government must prove each of the elements of all the counts

 beyond a reasonable doubt.

                                        * * * * *

            In sum, if you find that the government has failed to

 prove any one of the elements for either Count One for MSMB

 Capital or Count Four for MSMB Healthcare, beyond a reasonable

 doubt, then you must find the defendantMr. Shkreli not guilty of

 securities fraud conspiracy for that count.          To find the

 defendantMr. Shkreli guilty of conspiring to commit securities

 fraud as charged in Count One or Count Four, you must find that

 the government has proven, beyond a reasonable doubt, each

 element of the conspiracy to commit securities fraud in Count

 One for MSMB Capital or Count Four for MSMB Healthcare, and that

 the government has also established venue for that count by a

 preponderance of the evidence.



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        COUNTS TWO AND FIVE: Conspiracy to Commit Wire Fraud

            I will now instruct you on the wire fraud conspiracy

 charges. Count Two of the Superseding Indictment charges the

 defendant MARTIN SHKRELIMr. Shkreli with conspiracy to commit

 wire fraud as to MSMB Capital, and Count Five charges him with

 conspiracy to commit wire fraud as to MSMB Healthcare.

            Count Two of the Superseding Indictment charges the

 defendant MARTIN SHKRELIMr. Shkreli with conspiracy to commit

 wire fraud in connection with MSMB Capital as follows:

            In or about and between September 2009 and September
            2014, both dates being approximate and inclusive,
            within the Eastern District of New York and elsewhere,
            the defendant MARTIN SHKRELI, together with others,
            did knowingly and intentionally conspire to devise a
            scheme and artifice to defraud investors and potential
            investors in MSMB Capital, and to obtain money and
            property from them by means of materially false and
            fraudulent pretenses, representations and promises,
            and for the purpose of executing such scheme and
            artifice, to transmit and cause to be transmitted by
            means of wire communication in interstate and foreign
            commerce writings, signs, signals, pictures and
            sounds, contrary to Title 18, United States Code,
            Section 1343.

            Count Five of the Superseding Indictment charges the

 defendant MARTIN SHKRELIMr. Shkreli with conspiracy to commit

 wire fraud in connection with MSMB Healthcare as follows:

            In or about and between February 2011 and September
            2014, both dates being approximate and inclusive,
            within the Eastern District of New York and elsewhere,

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            the defendant MARTIN SHKRELI, together with others,
            did knowingly and intentionally conspire to devise a
            scheme and artifice to defraud investors and potential
            investors in MSMB Healthcare, and to obtain money and
            property from them by means of materially false and
            fraudulent pretenses, representations and promises,
            and for the purpose of executing such scheme and
            artifice, to transmit and cause to be transmitted by
            means of wire communication in interstate and foreign
            commerce writings, signs, signals, pictures and
            sounds, contrary to Title 18, United States Code,
            Section 1343.

 A.   Conspiracy to Commit Wire Fraud

            I have already explained what it means to conspire to

 commit an offense. As a reminder, the government need not prove

 that the defendantMr. Shkreli actually committed the unlawful

 acts charged as the object of the conspiracy in Counts Two and

 Five, that is, wire fraud. Rather, the government must prove

 each one of the following two elements beyond a reasonable

 doubt:

            First, that two or more persons entered into an

 agreement to commit wire fraud; and

            Second, that the defendantMr. Shkreli knowingly and

 intentionally became a member of the conspiracy.

            The third and fourth overt act elements on which I

 instructed you with respect to Counts One and Four, which charge




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 conspiracy to commit securities fraud, do not apply to Counts

 Two and Five, which charge conspiracy to commit wire fraud.

           Authority: Roy, 783 F.3d at 420 (overt act elements
 not required for Section 1349 wire fraud conspiracy).

 B.   Wire Fraud: Definition and Elements

            I will now define wire fraud, which is alleged to be

 the object of the conspiracy charged in Count Two involving MSMB

 Capital, and Count Five involving MSMB Healthcare. The relevant

 statute regarding wire fraud is Section 1343 of Title 18 of the

 United States Code, which provides that:

            Whoever, having devised or intending to devise any
            scheme or artifice to defraud, or for obtaining money
            or property by means of false or fraudulent pretenses,
            representations, or promises, transmits or causes to
            be transmitted by means of wire, radio, or television
            communication in interstate or foreign commerce, any
            writings, signs, signals, pictures or sounds for the
            purpose of executing such scheme or artifice, shall be
            [guilty of a crime].

            The elements of wire fraud are:

            First, that there was a scheme or artifice to defraud

 or to obtain money or property by false and fraudulent

 pretenses, representations or promises, as alleged in the

 Superseding Indictment;

            Second, that the defendant knowingly and willfully

 participated in the scheme or artifice to defraud, with


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 knowledge of its fraudulent nature and with specific intent to

 defraud; and

            Third, that in the execution of that scheme, the

 defendant used or caused the use of interstate wires.

            1. First Element – Existence of a Scheme or Artifice
               to Defraud

            The first element of wire fraud is that there was a

 scheme or artifice to defraud investors and potential investors

 in MSMB Capital as to Count Two, and MSMB Healthcare as to Count

 Five, and to obtain money or property from them by means of

 false or fraudulent pretenses, representations or promises.

            A “scheme or artifice” is simply a plan for the

 accomplishment of an objective.        “Fraud” is a general term which

 embraces all the various means that an individual can devise and

 that are used by an individual to gain an advantage over another

 by false representations, suggestions, suppression or omission

 of the truth, or deliberate disregard for the truth.

            A “scheme or artifice to defraud” for the purposes of

 the wire fraud statute is any plan, device, or course of action

 designed to obtain money or property by means of false

 representations. Thus, a “scheme to defraud” is a plan to

 deprive another of money or property by trick, deceit, deception


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 or swindle, or overreaching.        The schemes to defraud giving rise

 to the wire fraud conspiracy chargeds in Counts Two and Five are

 alleged to have been carried out by making false

 representations.     A statement, representation, claim, or

 document is false if it is untrue when made and was known at the

 time to be untrue by the person making it or causing it to be

 made.   A representation or statement is fraudulent if it was

 falsely made with the intention to deceive.

            Deceitful statements of half-truths or the concealment

 or omission of material facts, and the expression of an opinion

 not honestly entertained may constitute false or fraudulent

 representations under the statute.         The fraudulent

 representation must relate to a material fact or matter. A

 material fact in the context of wire fraud is one that

 reasonably would be expected to be of concern to a reasonable

 and prudent person in relying upon the representation or

 statement in making a decision.2



 2 See Sand 44-4 (First Element – Existence of Scheme or Artifice to Defraud);
 United States v. Weaver, 860 F.3d 90, 94 (2d Cir. 2017) (“A statement is
 material if the misinformation or omission would naturally tend to lead or is
 capable of leading a reasonable person to change his conduct.” (internal
 quotations and citations omitted)); United States v. Corsey, 723 F.3d 366,
 373 (2d Cir. 2013), as corrected (July 24, 2013) (“a lie . . . is
 material . . . if it would affect a reasonable person's evaluation of a
 proposal”); Neder v. United States, 527 U.S. 1, 16 (1999) (“In general, a
 false statement is material if it has a natural tendency to influence, or is

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              The deception need not be premised upon spoken or

 written words alone. The arrangement of words, or the

 circumstances in which they are used may convey a false and

 deceptive appearance.      If there is intentional deception, the

 manner in which it is accomplished does not matter.

            In addition to proving that a statement was false or

 fraudulent and related to a material fact, in order to establish

 a scheme to defraud, the government must prove that the alleged

 scheme contemplated depriving another of money or property.

 Property includes intangible assets such as the right to control

 the use of one’s assets.       The right to control one’s assets is

 injured when an individual or entity is deprived of potentially

 valuable economic information he or she would consider valuable

 in deciding how to use his, her, or its assets.           The loss of the

 right to control assets only constitutes deprivation of money or

 property if the scheme could cause or did cause tangible

 economic harm to the victim.3




 capable of influencing, the decision of the decisionmaking body to which it
 was addressed.”).

 3 See United States v. Finazzo, 850 F.3d 94, 112, 113 n.20 (2d Cir. 2017)
 (listing cases referencing the “potentially valuable economic information”
 formulation of the right to control charge, and proposing the inclusion of
 “tangible economic harm” in the instruction).


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             It is not necessary that the government prove that the

 defendant actually realized any gain from the scheme or that the

 intended victim actually suffered any loss.

           Authority: Sand, 44-4 (First Element – Scheme or
 Artifice to Defraud); United States v. Finazzo, 850 F.3d 94,
 112, 113 n.20 (2d Cir. 2017).

             2. Second Element – Participation in Scheme with
                Intent

             The second element of wire fraud is that the defendant

 participated in the scheme to defraud knowingly, willfully and

 with the specific intent to defraud.

             I already instructed you as to the meaning of

 “knowingly” and “willfully.” I refer you to those instructions

 as they apply here also. For the purposes of the wire fraud

 statute, an “intent to defraud” means to act knowingly and with

 specific intent to deceive for the purpose of causing some

 financial or property loss to another.4

             I will remind you, however, that the question of

 whether a person acted knowingly, willfully and with intent to

 defraud is a question of fact for you to determine, like any

 other fact question. This question involves the defendant’s

 state of mind. As I said before, direct proof of knowledge and


 4 See Finazzo, 850 F.3d at 108 (definition of “intent to defraud” for wire
 fraud); Sand, 44-5(Second Element – Participation in Scheme with Intent).

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 fraudulent intent is not necessary. The ultimate facts of

 knowledge and criminal intent, though subjective, may be

 established by circumstantial evidence, based upon a person’s

 outward manifestations, his or her words, his or her conduct,

 his or her acts and all the surrounding circumstances disclosed

 by the evidence and the rational or logical inferences that may

 be drawn from them. Circumstantial evidence, if believed, is of

 no less value than direct evidence.

            Under the wire fraud statute, even false

 representations or statements, or omissions of material facts,

 do not amount to a fraud unless done with fraudulent intent.

 However misleading or deceptive a plan may be, it is not

 fraudulent if it was devised or carried out in good faith. An

 honest belief in the truth of the representations made by a

 defendant is a complete defense, however inaccurate the

 statements may turn out to be.       A defendant, however, has no

 burden to establish a defense of good faith.

 There is another consideration to bear in mind in deciding

 whether or not the defendant acted in good faith. You are

 instructed that if the defendant conspired to commit wire fraud,

 then a belief by the defendant, if such a belief existed, that

 ultimately everything would work out so that no one would lose

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 any money does not require you to find that the defendant acted

 in good faith. No amount of honest belief on the part of the

 defendant that the scheme would, for example, ultimately make a

 profit for investors, will excuse fraudulent actions or false

 representations caused by him to obtain money or property.              I

 reiterate, however, that an “intent to defraud” for the purposes

 of the wire fraud statute means to act knowingly and with

 specific intent to deceive for the purpose of causing financial

 loss or property loss to another.5        As a practical matter, then,

 you may find intent to defraud if the defendant knew that his

 conduct as a participant in the scheme was calculated to deceive

 and, nonetheless, he associated himself with the alleged

 fraudulent scheme for the purpose of causing loss to another.



           Authority: Sand, 44-5 (Second Element – Participation
 in Scheme with Intent); United States v. Pierce, 224 F.3d 158,
 165 (2d Cir. 2000) (intent to deceive, without more, is not
 sufficient under the wire fraud statute).




 5 See United States v. Finazzo, 2017 WL 922966 at *2 (2d Cir. March 7, 2017)
 (affirming the use of a “no ultimate harm” charge where the defense
 emphasized at trial that the alleged victim “was ultimately quite successful
 over the time period of the [defendant’s] alleged fraud” and where the trial
 court emphasized, immediately after giving the charge, that the government
 was required to show that the defendant “engaged in the alleged fraudulent
 scheme ‘for the purpose of causing loss to another.’”).

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            3. Third Element – Use of the Wires

            The third and final element of wire fraud is the use

 of an interstate or international wire communication in

 furtherance of the scheme to defraud. The wire communication

 must pass between two or more states, or it must pass between

 the United States and a foreign country. A wire communication

 includes a wire transfer of funds between banks in different

 states, telephone calls, emails and facsimiles between two

 different states.

            The item sent through the wires need not itself

 contain a fraudulent representation. However, it must further or

 assist in the carrying out of the scheme to defraud. It is not

 necessary for the defendant to be directly or personally

 involved in the wire communication, as long as the communication

 was reasonably foreseeable in the execution of the alleged

 scheme to defraud in which the defendant is accused of

 participating.

            I remind you that the government need not prove that

 the defendant MARTIN SHKRELIMr. Shkreli actually committed wire

 fraud, the unlawful act charged as the object of the conspiracy

 in Counts Two and Five. Rather, what the government must prove

 beyond a reasonable doubt is that the purpose of the conspiracy

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 was to commit wire fraud, and that the defendant knowingly and

 intentionally joined that conspiracy.

             Authority: Sand, 44-7 (Use of the Wires).

 C.   Venue

             I have previously instructed you on venue for

 conspiracy counts. Those instructions apply here.

                                        * * * * *

             In sum, if you find that the government has failed to

 prove either of the elements of conspiracy for either Count Two

 for MSMB Capital or Count Five for MSMB Healthcare, beyond a

 reasonable doubt, then you must find the defendantMr. Shkreli

 not guilty of wire fraud conspiracy for that count. To find the

 defendantMr. Shkreli guilty of conspiracy to commit wire fraud

 as charged in Count Two or Count Five, you must find that the

 government has proven, beyond a reasonable doubt, both elements

 of conspiracy as charged in Count Two for MSMB Capital or Count

 Five for MSMB Healthcare, and that the government has also

 established venue on that count by a preponderance of the

 evidence.




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                                 COUNT SEVEN

            Count Seven of the Superseding Indictment charges the

 defendant MARTIN SHKRELIMr. Shkreli with wire fraud conspiracy

 in connection with Retrophin as follows:

            In or about and between February 2011 and September
            2014, both dates being approximate and inclusive,
            within the Eastern District of New York and elsewhere,
            the defendant MARTIN SHKRELI, together with others,
            did knowingly and intentionally conspire to devise a
            scheme and artifice to defraud Retrophin, and to
            obtain money and property from Retrophin by means of
            materially false and fraudulent pretenses,
            representations and promises, and for the purpose of
            executing such scheme and artifice, to transmit and
            cause to be transmitted by means of wire communication
            in interstate and foreign commerce writings, signs,
            signals, pictures and sounds, contrary to Title 18,
            United States Code, Section 1343.

 A.   Conspiracy to Commit Wire Fraud

            I have already explained what it means to conspire to

 commit an offense. Those same instructions apply to Count Seven.

 I further remind you that the government need not prove that the

 defendant MARTIN SHKRELIMr. Shkreli actually committed wire

 fraud, the unlawful act charged as the object of the conspiracy

 in Count Seven. Rather, the government must prove each one of

 the following two elements beyond a reasonable doubt:

            First, that two or more persons entered into an

 agreement to commit wire fraud; and


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            Second, that the defendant knowingly and intentionally

 became a member of the conspiracy.

 B.   Wire Fraud

            I have already instructed you on the elements of wire

 fraud. Those same instructions apply to Count Seven. As a

 reminder, as I instructed you on page 67, the elements of wire

 fraud are:

            First, that there was a scheme or artifice to defraud

 or to obtain money or property by false and fraudulent

 pretenses, representations or promises, as alleged in the

 Superseding Indictment. A fraudulent representation may include

 the failure to disclose material information if the defendant

 was under a legal, professional or contractual duty to make such

 a disclosure. You have heard testimony regarding the fiduciary

 duties of corporate officers and directors. One such duty, the

 duty of loyalty, mandates that the best interest of the

 corporation and its shareholders takes precedence over any

 interest possessed by a director or officer, and not shared by

 the stockholders generally.       However, in order for a failure to

 disclose material information to constitute a fraudulent

 representation for purposes of the wire fraud statute, the

 defendant must have actually known such disclosure was required

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 to be made, and must have failed to make such disclosure with

 the intent to defraud.



            Second, that the defendant knowingly and willfully

 participated in the scheme or artifice to defraud, with

 knowledge of its fraudulent nature and with specific intent to

 defraud; and

            Third, that in the execution of that scheme, the

 defendant used or caused the use of interstate wires.

            Specifically, as to Count Seven, the government

 alleges that the defendant MARTIN SHKRELIMr. Shkreli, together

 with others, conspired to defraud Retrophin by causing it to:

 (i) transfer Retrophin shares to MSMB Capital even though MSMB

 Capital never invested in Retrophin; (ii) enter into settlement

 agreements with defrauded MSMB Capital and MSMB Healthcare

 investors to settle liabilities owed by the MSMB Funds and

 SHKRELI; and (iii) enter into a sham consulting agreement with a

 defrauded MSMB Capital or Elea Capital investor as an

 alternative means to settle liabilities owed by the MSMB Funds

 and SHKRELI. You can find the defendant MARTIN SHKRELIMr.

 Shkreli guilty of Count Seven only if the government has proven

 both elements of the conspiracy beyond a reasonable doubt as to

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 one of the above means specified in (i), (ii), or (iii), or as

 to any one of the settlement and consulting agreements, but you

 must be unanimous as to that finding.

 C.   Venue

            I have previously instructed you on venue for wire

 fraud conspiracy. Those instructions apply here.

                                 COUNT EIGHT

            Count Eight of the Superseding Indictment charges the

 defendant MARTIN SHKRELIMr. Shkreli with conspiracy to commit

 securities fraud in connection with Retrophin as follows:

            In or about and between November 2012 and September
            2014, both dates being approximate and inclusive,
            within the Eastern District of New York and elsewhere,
            the defendant MARTIN SHKRELI, together with others,
            did knowingly and willfully conspire to use and employ
            manipulative and deceptive devices and contrivances,
            contrary to Rule 10b-5 of the Rules and Regulations of
            the United States Securities and Exchange Commission,
            Title 17, Code of Federal Regulations, Section
            240.10b-5, by: (a) employing devices, schemes and
            artifices to defraud; (b) making untrue statements of
            material fact and omitting to state material facts
            necessary in order to make the statements made, in
            light of the circumstances under which they were made,
            not misleading; and (c) engaging in acts, practices
            and courses of business which would and did operate as
            a fraud and deceit upon investors and potential
            investors in Retrophin, in connection with the
            purchase and sale of securities of Retrophin, directly
            and indirectly, by use of means and instrumentalities
            of interstate commerce and the mails, contrary to
            Title 15, United States Code, Sections 78j(b) and
            78ff.

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            In furtherance of the conspiracy and to effect its
            objects, within the Eastern District of New York and
            elsewhere, the defendant MARTIN SHKRELI, together with
            others, committed and caused to be committed, among
            others, the following overt acts:

            a. On or about December 12, 2012, Evan Greebel
            (“Greebel”) sent an email to Co-Conspirator 1Marek
            Biestek, attaching six stock purchase agreements, and
            stated, in part, “attached are purchase agreements for
            the acquisition of the [unrestricted] stock. . . .
            Please ask each person to sign the last page and
            return it to me.”

            b. On or about December 13, 2012, Evan Greebel sent an
            email to Co-Conspirator 1Marek Biestek and another one
            of the seven employees and contractors who received
            unrestricted or free trading shares, and stated, in
            part, “Please send me an email confirming the
            following: I represent that I am not an officer, a
            director, or holder of 10% or more of the outstanding
            equity securities of Desert Gateway and do not, alone
            or together with any other person, exercise control
            over Desert Gateway.”

            c. On or about December 17, 2012, SHKRELI sent an
            email to all employees, copying six of the seven
            employees and contractors who received unrestricted
            and free trading shares, and stated that Retrophin now
            had four employees and that everyone else, including
            the employees and contractors who received the
            unrestricted or free trading shares, were no longer
            employees or consultants to Retrophin or MSMB even
            though they could continue using Retrophin’s office
            space as a courtesy. SHKRELI then forwarded this
            email to Evan Greebel.

            d. On or about December 20, 2012, Evan Greebel sent an
            email to SHKRELI, attaching a Schedule 13D, and
            stated, “Attached is a draft of the 13D. We should
            discuss.”




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            e. On or about December 20, SHKRELI filed a Schedule
            13D with the SEC that failed to disclose his control
            over any of the unrestricted or free trading shares.

            f. On or about January 2, 2013, SHKRELI sent an email
            to Evan Greebel requesting Evan Greebel’s thoughts on
            a draft email that SHKRELI wanted to send to one of
            the seven employees and consultants who received
            unrestricted or free trading shares and who was
            selling his RTRX stock. In the draft email, SHKRELI
            stated, in part, “I have decided to commence
            litigation against you for failing to honor the
            agreement we made in our office on December 10th. You
            agreed to work for MSMB . . . Instead you have failed
            to come to the office and will not even return my
            telephone calls.” Less than thirty minutes later, Evan
            Greebel replied to SHKRELI, and stated, “Very risky
            given what you[r] agreement was – could be opening a
            much bigger can of worms.”

            g. On or about January 18, 2013, Greebel sent an email
            to SHKRELI, and stated, in part, “I just need the
            [$100,000] and can be patient again; ive [sic] gotten
            you out of paying a lot of people, I cant [sic] be
            left stuck at this point on this.” Later that day,
            Greebel sent another email, and stated, in part,
            “[I’ve] repeadtedy [sic] done all you ask and very
            rarely chase you for money.”

            gh. On or about February 19, 2013, SHKRELI filed an
            amended Schedule 13D with the SEC that failed to
            disclose his control over any of the unrestricted or
            free trading shares.

            hi. On or about March 8, 2013, Evan Greebel sent an
            email to SHKRELI, and stated, “[John Doe 1Michael
            Fearnow] and the ‘purchasers’ are signing an amendment
            to their purchase agreement and in the amendment the
            ‘purchaser’ is directing [John Doe 1Michael Fearnow]
            to have the stock delivered to the designated people.”

            ij. On or about April 10, 2013, Evan Greebel sent an
            email to John Doe 1Michael Fearnow and SHKRELI, and
            stated, in part, “The 50k [unrestricted or free

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            trading] shares that were owed to [Co-Conspirator
            1Marek Biestek] should be broken down as follows . . .
            .”

            jk. On or about May 9, 2013, in response to an email
            from Evan Greebel requesting the source of
            unrestricted or free trading shares to settle a
            dispute with a defrauded MSMB Healthcare investor,
            SHKRELI stated, “Take from anyone – I don’t care – do
            the math?”

            l. On or about January 15, 2014, Greebel sent an email
            to SHKRELI concerning a request by Investor 1 for,
            inter alia, 100,000 unrestricted or free trading
            shares and stated, in part, “As you may recall, we
            discussed that [Co-Conspirator 1]could transfer 100k
            shares of stock to [Investor 1] and we could have the
            board approve a 100k grant of new RTRX stock to [Co-
            Conspirator 1].” In response, SHKRELI stated, in part,
            “Smarter thing to do is to give him 200K restricted
            stock and have him swap any and all he wants for free
            trading from our employees.”

 A.   Conspiracy

            Again, I already instructed you on conspiracy

 generally (see page 55). Those same instructions apply here. As

 a reminder, the government need not prove that the defendant

 MARTIN SHKRELIMr. Shkreli actually committed securities fraud,

 the unlawful acts charged as the objects of the conspiracy in

 Count Eight. Rather, the government must prove, beyond a

 reasonable doubt, the following:

            First, that two or more persons entered into an

 agreement to commit securities fraud;



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            Second, that the defendant knowingly and intentionally

 became a member of the conspiracy;

            Third, that one of the members of the conspiracy

 knowingly committed at least one of the overt acts charged in

 the Superseding Indictment; and

            Fourth, that the overt act or acts that you find were

 committed were done specifically to further some objective of

 the securities fraud conspiracy.

 B.   Securities Fraud

            I have already instructed you on the elements of

 securities fraud at page 353 of these instructions. As a

 reminder, the elements of securities fraud are:

            First, in connection with the purchase or sale of a

 security, toMARTIN SHKRELI did one or more of the following:

            (1) employed a device, scheme, or artifice to defraud,

 or

            (2) madke an untrue statement of a material fact or

 omitted to state a material fact necessary in order to make the

 statements made, in the light of the circumstances under which

 they were made, not misleading, or




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            (3) engaged in an act, practice, or course of business

 that operated, or would operate, as a fraud or deceit upon a

 purchaser or seller.

            Second, to act willfully, knowingly and with the

 intent to defraud,

            Third, to knowingly use, or caused to be used, any

 means or instrumentalities of transportation or communication in

 interstate commerce or the use of the mails in furtherance of

 the fraudulent conduct.      Any conduct that is designed to deceive

 or defraud investors by controlling or artificially affecting

 the price of securities is prohibited.          An essential element of

 manipulation of securities is the deception of investors into

 believing that the prices at which they purchase and sell

 securities are determined by the natural interplay of supply and

 demand.

 C.   Venue

            I have previously instructed you on venue for

 securities fraud conspiracy. Those instructions apply here.

                               III.   Defenses

 1.   Good Faith

            Good faith is a complete defense to the charges in

 this case.    If the defendant believed in good faith that he was

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 acting properly, even if he was mistaken in that belief, and

 even if others were injured by his conduct, there would be no

 crime.

            If you believe that the defendantMr. Shkreli believed

 in the truth of the representations that he made, then it does

 not make any difference if the representations were untrue.             The

 burden of establishing lack of good faith and criminal intent

 rests on the government. A defendant is under no burden to prove

 his good faith; rather, the government must prove bad faith or

 knowledge of falsity beyond a reasonable doubt.

            As a reminder, I instruct you that when considering

 the defense of good faith, you consider it in conjunction with

 my instructions on pages 44 and 73, regarding the defendant’s

 belief, if such belief existed, that ultimately everything would

 work out so that no one would lose money.

 2.   Reliance on Counsel

            You have heard evidence that, with regard to Counts

 Seven and Eight, the defendantMr. Shkreli received advice from a

 lawyer, and you may consider that evidence in deciding whether

 the defendantMr. Shkreli acted willfully and with knowledge, and

 with fraudulent intent.




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            The mere fact that the defendantMr. Shkreli may have

 received legal advice does not, in itself, necessarily

 constitute a complete defense. Instead, you must consider

 whether:

            (1) the defendantMr. Shkreli honestly and in good

            faith sought the advice of a competent lawyer as to

            what he may lawfully do;

            (2) whether he fully and honestly laid all the facts

            before his lawyer; and

            (3) whether in good faith he honestly followed such

            advice, relying on it and believing it to be correct.

            In short you should consider whether, in seeking and

 obtaining advice from a lawyer, the defendantMr. Shkreli

 intended that his acts shall be lawful. If he did so, it is the

 law that a defendant cannot be convicted of a crime that

 involves willful and unlawful intent, even if such advice was an

 inaccurate construction of the law.

            On the other hand, a defendant cannot willfully and

 knowingly violate the law and excuse himself from the

 consequences of his conduct by arguing that he followed the

 advice of his lawyer.



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            Whether the defendantMr. Shkreli acted in good faith

 for the purpose of seeking guidance as to the specific acts in

 this case, whether he made a full and complete report to his

 lawyer, and whether he acted substantially in accordance with

 the advice received, are questions for you to determine.

            Authority: Sand, 1-8 (Reliance on Counsel).

                        IV.   CLOSING INSTRUCTIONS

            I have now outlined for you the rules of law

 applicable to the charges in this case and the processes by

 which you should weigh the evidence and determine the facts.             In

 a few minutes, you will retire to the jury room for your

 deliberations.

 1.   Selection of a Foreperson

            When you retire, you will choose one member of the

 jury as your foreperson.      That person will preside over the

 deliberations and speak for you here in open court.           In order

 for your deliberations to proceed in an orderly fashion, you

 must have a foreperson, but of course, his or her opinion or

 vote are not entitled to any greater weight than that of any

 other juror.




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 2.   Verdict & Deliberations

            The government, to prevail, must prove the essential

 elements by the required degree of proof, as already explained

 in these instructions. If the government succeeds, your verdict

 should be guilty as to the count; if it fails, your verdict

 should be not guilty as to the count. To report a verdict, it

 must be unanimous.

            Your function is to weigh the evidence in the case and

 determine whether or not the defendant is guilty, based solely

 upon such evidence.

            Each juror is entitled to his or her opinion; each

 should, however, exchange views with his or her fellow jurors.

 That is the very purpose of jury deliberation — to discuss and

 consider the evidence; to listen to the views of fellow jurors;

 to present your individual views; to consult with one another;

 and to reach an agreement based solely and wholly on the

 evidence — if you can do so without violence to your own

 individual judgment.

            Each of you must decide the case for yourself, after

 consideration, with your fellow jurors, of the evidence in the

 case.



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             But you should not hesitate to change an opinion that,

 after discussion with your fellow jurors, appears erroneous.

 However, if, after carefully considering all the evidence and

 the arguments of your fellow jurors, you entertain a

 conscientious view that differs from the others, you are not to

 yield your conviction simply because you are outnumbered.

             Your final vote must reflect your conscientious

 conviction as to how the issues should be decided. Your verdict,

 whether guilty or not guilty, must be unanimous.

             As you deliberate, your function is to weigh the

 evidence in the case and to determine whether the defendant is

 guilty beyond a reasonable doubt, solely upon the basis of such

 evidence.    Under your oath as jurors, you cannot allow a

 consideration of the punishment that may be imposed upon a

 defendant, if he is convicted, to influence your verdict, or in

 any way enter into your deliberations.         The duty of imposing

 punishment rests exclusively with the court.

             In addition, during your deliberations, you must not

 communicate with or provide any information to anyone by any

 means about this case.      You may not use any electronic device or

 media, such as the telephone, a cell phone, smart phone, iPhone,

 Blackberry or computer, the internet, any internet service, any

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 text or instant messaging service, any internet chat room, blog,

 or website such as Facebook, MySpace, Instagram, LinkedIn,

 YouTube, or Twitter, to communicate to anyone any information

 about this case or to conduct any research about this case.             In

 other words, you cannot talk to anyone on the phone, correspond

 with anyone, or electronically communicate with anyone about

 this case, except with your fellow jurors in the jury room

 during deliberations.

            Along the same lines, you should not try to access any

 information about the case or do research on any issue that

 arose during the trial from any outside source, including

 dictionaries, reference books, or anything on the Internet.

 Information that you may find on the Internet or in a printed

 reference might be incorrect or incomplete. In our court system,

 it is important that you not be influenced by anyone or anything

 outside this courtroom. Your sworn duty is to decide this case

 solely and wholly on the evidence that was presented to you in

 this courtroom.

           Sand, 9-7 (Verdict); 2-21 (Contact with Others); 9-1
 (Punishment).




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 3.   Note-Taking

            Your notes are to be used solely to assist you and are

 not to substitute for your recollection of the evidence in the

 case.   Do not assume simply because something appears in a

 juror’s notes that it necessarily took place in court.            Instead,

 it is your collective memory that must control as you deliberate

 upon the verdict.     The fact that a particular juror has taken

 notes entitles that juror’s views to no greater weight than

 those of any other juror and your notes are not to be shown to

 any other juror during your deliberations.

 4.   Communications with the Court

            If it becomes necessary during your deliberations to

 communicate with me for any reason, simply send me a note signed

 by your foreperson or by one or more other members of the jury.

 No member of the jury should ever attempt to communicate with me

 or with any court personnel by any means other than a signed

 writing.   I will not communicate with any member of the jury on

 any subject touching on the merits of this case other than in

 writing or orally here in open court.         Do not ever disclose how

 the jury stands numerically or otherwise on the question of

 guilt or innocence.



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 5.   Right to See Evidence

            You will have the exhibits and a list of exhibits

 received in evidence during the course of the trial in the jury

 room with you.     If you wish to have any portion of the testimony

 repeated, you may simply indicate that in a note.           Be as

 specific as you can be if you make such a request.           Let us know

 which exhibit or which part of which witness’s testimony you

 want to hear, and please be patient while we locate it.             If you

 need further instructions on any point of law, you should also

 indicate that in a note.

 6.   Return of Verdict

            When you have reached a verdict, simply send me a note

 signed by your foreperson that you have reached a verdict.             Do

 not indicate in the note what the verdict is.

            To report a verdict, it must be unanimous, and you

 must be prepared to render a verdict for the defendant as to

 each count of the Superseding Indictment.         To help you, I have

 prepared a verdict form that may be of assistance to you in your

 deliberations.     On the verdict sheet are spaces marked “guilty”

 or “not guilty” for each count.        The form is in no way intended

 to indicate how you must deliberate or decide the facts of this

 case.   The foreperson should use a check mark in the appropriate

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 space indicating “guilty” or “not guilty” for each count of the

 Superseding Indictment with which the defendantMr. Shkreli is

 charged.   The foreperson should also place his or her initials

 and the date beside each mark on the verdict form.

 7.   Conclusion

            Finally, I want to remind you of the oath you took

 when you were sworn as a juror at the beginning of this case.

 Remember, in your deliberations, that this case is no passing

 matter for the government or the defendantMr. Shkreli.            The

 parties and the court rely upon you to give full and

 conscientious deliberation and consideration to the issues and

 evidence before you.      By so doing, you carry out to the fullest

 your oaths as jurors:      to well and truly try the issues of this

 case and a true verdict render.

            Before asking you to retire and begin your

 deliberations, let me first consult with counsel to be certain I

 have not overlooked any point.




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